         Case 3:17-cr-03697-MMA Document 72 Filed 10/08/21 PageID.264 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7                              UNITED STATES DISTRICT COURT
 8                            SOUTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                   Case No.: 17cr3697-MMA-1
11                                            Plaintiff,
                                                                 ORDER GRANTING DEFENDANT’S
12   v.                                                          UNOPPOSED MOTION TO
                                                                 TERMINATE PROBATION
13   ALEXIS HERNANDEZ-MARTIN (1),
14                                          Defendant.
                                                                 [Doc. No. 71]
15
16
17           Subsequent to pleading guilty to an Information charging Defendant Alexis
18   Hernandez-Martin with one count of Bringing in Aliens without Presentation in violation
19   of 18 U.S.C. § 1324(a)(2)(B)(iii), the Court sentenced Defendant to a four-year term of
20   probation. See Doc. No. 57. Defendant now moves for early termination of probation. 1
21   See Doc. No. 187. Neither the United States Attorney nor United States Probation
22   oppose the motion.
23
24
25   1
       In his moving papers, Defendant refers to his term of probation as a term of “supervised release” and
26   cites to section 3583(e)(1). See, e.g., Doc. No. 71-1 at 4 (“In this case, all of these factors point toward
     the termination of the supervised release term being served . . . .”); see also id. at 3 (“Pursuant to 18
27   U.S.C. §3583(e)(1), a district court may terminate a term of supervised release and discharge the
     defendant released at any time after the expiration of one year of supervised release.”). Nonetheless, the
28   Court analyzes his motion according to the applicable statute, 18 U.S.C. § 3564(c).


                                                           -1-                                17cr3697-MMA-1
      Case 3:17-cr-03697-MMA Document 72 Filed 10/08/21 PageID.265 Page 2 of 2



 1         Upon due consideration of the applicable factors set forth in 18 U.S.C. § 3553(a),
 2   the interests of justice, and Defendant’s conduct, the Court GRANTS the motion.
 3   Accordingly, pursuant to 18 U.S.C. § 3564(c), the Court terminates Defendant’s term of
 4   probation and discharges Defendant as of the date this Order is filed.
 5         IT IS SO ORDERED.
 6   Dated: October 7, 2021
 7                                                _____________________________
 8                                                HON. MICHAEL M. ANELLO
 9                                                United States District Judge

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                 -2-                           17cr3697-MMA-1
